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   8 Productions, LLC
   9
 10                         UNITED STATES DISTRICT COURT
 11                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 EVOX PRODUCTIONS, LLC,                     Case No.
    a Delaware limited liability company,
 14
                  Plaintiff,                   COMPLAINT FOR DAMAGES
 15                                            FOR:
          vs.
 16                                            1. COPYRIGHT INFRINGEMENT
    LEMBERG LAW LLC, a Connecticut
 17 limited liability company; and SERGEI      2. VIOLATION OF THE DIGITAL
    LEMBERG, an individual,                    MILLENNIUM COPYRIGHT ACT
 18
                  Defendants.
 19                                            DEMAND FOR JURY TRIAL
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                                   COMPLAINT FOR DAMAGES
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   1
                   Plaintiff EVOX Productions, LLC (“EVOX”) alleges, with personal
   2
       knowledge as to its own actions, and upon information and belief as to those of
   3
       others, as follows:
   4
                                           INTRODUCTION
   5
                   1.    EVOX has been in business for over twenty years, licensing high-
   6
       quality photo, video and interactive automotive vehicle imagery. It has created a
   7
       library with over one million unique images and videos that is widely recognized as
   8
       the best quality and most comprehensive of its kind in the United States. Its library
   9
       includes pictures of over 9,000 makes and models of cars that have been sold in the
 10
       United States from 2000 to the present. Each image in the library was created as a
 11
       work-for-hire by an EVOX employee or agent. In order to protect its investment
 12
       and valuable intellectual property, EVOX owns registered copyrights in the images
 13
       in its library. A copyright registration may include multiple still images for a car,
 14
       including exterior spins and interior panoramas.
 15
                   2.   EVOX licenses its images—sometimes individually, sometimes as a
 16
       group of several images, and sometimes as the entire library—to a variety of
 17
       licensees. EVOX’s largest segment of revenue comes from automotive dealers,
 18
       which license EVOX images for, among other uses, advertising specific vehicles
 19
       available in their inventory and for dealership training materials.
 20
                   3.   Defendant Sergei Lemberg (“Lemberg”) is an attorney who owns and
 21
       operates Lemberg Law LLC (the “Firm”; and collectively with Lemberg,
 22
       “Defendants”), a law firm in Wilton, Connecticut. Defendants represent consumers
 23
       nationwide in cases involving automobile lemon law, debt harassment, robocalls and
 24
       texts, identity theft, background check errors, unpaid overtime, and personal injury,
 25
       both in individual and class action cases. On their website, www.lemberglaw.com
 26
       (the “Website”), Defendants tout that, since the Firm’s founding 15 years ago, they
 27
       have helped more than 30,000 consumers recover over $250 million.
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                                          COMPLAINT FOR DAMAGES
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   1               4.    The Website identifies “lemon law” as one of Defendants’ practice
   2 areas, discusses consumers’ lemon law rights and various states’ lemon laws
   3 (including California law), and publishes over 500 blog posts identifying problems,
   4 consumer complaints, and potential lemon law issues related to certain vehicle
   5 makes, models, and model years. Most, if not all, of the blog posts included an
   6 image of the affected vehicles. Many of the vehicle images used on the Website
   7 were EVOX’s copyrighted works, obtained, used, and published without a license
   8 by Defendants.
   9               5.    EVOX never licensed the use of its photographs on the Firm’s Website.
 10 Nevertheless, EVOX’s investigation has revealed that Defendants’ Website
 11 publicly displayed no fewer than 154 separate copyrighted EVOX images for
 12 use on the Website and in connection with the blog posts regarding lemon law
 13 issues. Defendants have engaged in widespread and blatant infringement of
 14 EVOX’s copyrighted works.
 15                                              PARTIES
 16                6.    EVOX is a Delaware limited liability company with its principal place
 17 of business at 2363 E. Pacifica Place, Rancho Dominguez, California.
 18                7.    The Firm is a Connecticut limited liability company with its principal
 19 place of business in Wilton, Connecticut.
 20                8.    Lemberg is an attorney who founded and owns the Firm and controls
 21 its business and operations, including the Website. On information and belief,
 22 Lemberg resides in Connecticut.
 23                                   JURISDICTION AND VENUE
 24                9.    This Court has subject matter jurisdiction over the infringement of
 25 United States copyrights pursuant to 17 U.S.C. § 501 et seq. and 28 U.S.C. §§ 1331
 26 and 1338(a).
 27                10.   This Court has subject matter jurisdiction over violations of the Digital
 28 Millennium Copyright Act (“DMCA”) pursuant to 17 U.S.C. § 1202 et seq. and 28
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                                           COMPLAINT FOR DAMAGES
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   1 U.S.C. §§ 1331 and 1338(a).
   2               11.    This Court has personal jurisdiction over Defendants because:
   3 (1) Defendants regularly conduct business in California, including representing
   4 California clients in California courts; (2) Defendants solicit “lemon law” clients
   5 that are residents of California through their Website and blog posts published
   6 therein, including a webpage specifically advertising legal services related to
   7 California lemon laws;1 and (3) Defendants’ copyright infringement caused harm to
   8 EVOX in this District.
   9               12.    Under 28 U.S.C. §§ 1391 and 1400, venue is proper in this district
 10 because a substantial part of the property that is the subject of the action is situated
 11 within the district and Defendants or their agent reside or may be found within this
 12 district.
 13                      LEMBERG’S BLATANT COPYRIGHT INFRINGEMENT
 14                13.    Since 2000, EVOX has created and licensed high-quality digital
 15 photographs and other images of car makes and models in the United States.
 16                14.    EVOX owns the copyrights to more than one million photographs and
 17 other images of cars.
 18                15.    EVOX licenses its images—individually and in groups—to numerous
 19 licensees, including to many automotive dealers and associated businesses.
 20                16.    EVOX, however, never licensed any of its copyrighted images for use
 21 on LEMBERG’s Website.
 22                17.    That did not stop Defendants from using EVOX images on their
 23 Website without any license or authorization. While conducting its standard
 24 intellectual property enforcement investigation, EVOX discovered 154 unique
 25    1
      See, e.g., https://lemberglaw.com/lemon-law/state/ca-california-lemon-law-
 26 lawyer-attorney/ (webpage is entitled “California Lemon Law Info – CA Lemon
 27 Law Attorneys” and states “We've fixed thousands of lemon problems. Message or
    call 855-301-2100 today.”)
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                                            COMPLAINT FOR DAMAGES
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   1 EVOX images being displayed on the Website and hosted on Defendants’
   2 servers, all without authorization. (See Exhibit A for examples of EVOX images
   3 used without authorization.) EVOX’s investigation is ongoing and discovery has
   4 not yet been taken. It is possible the infringement reaches even beyond these 154
   5 images—this number simply reflects what EVOX was able to uncover to date.
   6               18.   Defendants used these EVOX images on their Website and in their blog
   7 posts in order to advertise their legal services relating to lemon law disputes,
   8 including specifically within California. Defendants apparently believed that their
   9 use of EVOX’s high-quality images on the Website would further their goal of
 10 obtaining lucrative business in California and nationwide.
 11                19.   EVOX was able to discover this infringement in part because EVOX’s
 12 images display information that identify EVOX as the copyright owner, including
 13 the phrase “© EVOX IMAGES.” The copyrighted images unlawfully displayed on
 14 the Website were, on information and belief, authentic EVOX images. At least one
 15 infringing image contained the EVOX logo in the lower right corner. It was
 16 apparent on the face of the image that it was EVOX’s intellectual property. On
 17 information and belief, other images displayed on the Website were altered to
 18 remove or omit a similar EVOX logo in the lower right corner.
 19                20.   On information and belief, Defendants’ unauthorized and infringing use
 20 of EVOX images was intended for search engine optimization (“SEO”) purposes,
 21 i.e., to increase traffic to the Website by obtaining better online search engine results
 22 and maximizing the number of potential clients viewing the Website’s
 23 advertisements of their legal services related to lemon law disputes, including
 24 specifically in California. Defendants engaged in unauthorized and infringing use of
 25 EVOX images to do so; it used EVOX images as beacons to draw web and search
 26 traffic to the Website.
 27                21.   That Defendants knew about and directed the unauthorized use of the
 28 EVOX images as an SEO tactic is evidenced by Defendants’ conduct in changing
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                                          COMPLAINT FOR DAMAGES
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   1 the electronic filenames assigned to the images by EVOX to allow EVOX to
   2 identify its works. EVOX uses a standard filename format that identifies the vehicle
   3 number assigned by EVOX, the image size, and the shot number (representing the
   4 subject of the photograph, e.g. of a steering wheel or a rear-view mirror).
   5 Defendants stripped the EVOX images of this identifying filename information,
   6 instead giving each file a new title that impeded EVOX’s efforts to identify and
   7 discover Defendants’ infringing use and that corresponded to the blog post
   8 Defendants intended to promote by each infringing use of EVOX’s images.
   9               22.   Moreover, Defendants, on information and belief, altered or removed
 10 the copyright notice on many of EVOX’s images prior to engaging in infringing use
 11 of those images on the Website. Defendants used, distributed, transmitted, and
 12 displayed EVOX’s photos with the knowledge that the copyright management
 13 information had been removed or altered without EVOX’s permission.
 14                23.   As the founder and owner of the Firm—a relatively small firm of, on
 15 information and belief, approximately ten to twenty employees during the relevant
 16 time period—Lemberg controlled the Firm, made all key decisions regarding its
 17 business and advertising, and had a large personal financial stake in its performance.
 18                24.   Defendants were perfectly within their rights to promote their legal
 19 services related to automobiles and lemon law disputes. Defendants had no right,
 20 however, to use over one hundred fifty copyrighted EVOX images without
 21 authorization to advertise their legal services and drive Internet traffic to their
 22 Website. Defendants knew that the high quality of EVOX images would increase
 23 the appeal of the Website’s blog posts and advertisements for their legal services,
 24 and they selected EVOX images to use—without authorization, and with alterations
 25 to EVOX’s copyright notices—for that purpose.
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                                           COMPLAINT FOR DAMAGES
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   1                                          COUNT ONE
   2                        (Copyright Infringement, 17 U.S.C. § 501 et seq.)
   3                                      Against All Defendants
   4               25.   EVOX re-alleges the allegations contained in the preceding paragraphs.
   5               26.   Each of EVOX’s photos is an original pictorial work and constitutes
   6 copyrightable subject matter under 17 U.S.C. §§ 101 and 102.
   7               27.   Each of EVOX’s photos at issue in this action has been registered with
   8 the United States Copyright Office.
   9               28.   EVOX did not authorize Defendants (or anyone) to copy, display,
 10 distribute or transmit EVOX’s photos on the Defendants’ Website.
 11                29.   Defendants have infringed EVOX’s copyrights in at least 154 images
 12 through the copying, public display, distribution or transmission of EVOX’s photos.
 13                30.   Lemberg, the founder and owner of the Firm, has been the conscious
 14 force behind Defendants’ infringement.
 15                31.   Defendants’ infringement has been willful. Defendants were aware
 16 they were using EVOX’s photos without authorization from EVOX or recklessly
 17 disregarded EVOX’s rights in EVOX’s photos. Defendants’ willful intent is
 18 evidenced by, among other things, steps taken by Defendants to use EVOX images
 19 for SEO purposes and alterations made to EVOX’s images to remove copyright
 20 notices and information.
 21                32.   EVOX has been damaged by Defendants’ willful infringement in a sum
 22 to be determined.
 23                                           COUNT TWO
 24                       (Violations of the Digital Millennium Copyright Act)
 25                                       Against All Defendants
 26                33.   EVOX re-alleges the allegations contained in the preceding paragraphs.
 27                34.   EVOX embedded copyright management information in EVOX’s
 28 photos, including through the distinctive filename structure that identified EVOX as
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                                           COMPLAINT FOR DAMAGES
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   1 the copyright owner and allowed EVOX to track the use of its works.
   2               35.   In violation of 17 U.S.C. § 1202(b), Defendants have knowingly—and
   3 with the intent to induce, enable, facilitate, or conceal infringement—removed or
   4 altered identifying information about the copyright owner of EVOX’s photos in
   5 connection with their use, distribution, display, and transmission of EVOX’s photos.
   6 Defendants have also distributed EVOX’s photos via their Website while knowing
   7 that information about EVOX as the copyright owner has been removed or altered
   8 without authority of EVOX.
   9               36.   Lemberg, the founder and owner of the Firm, has been the conscious
 10 force behind Defendants’ DMCA violations.
 11                37.   EVOX has been damaged by Defendants’ actions in a sum to be
 12 determined.
 13                                     PRAYER FOR RELIEF
 14                WHEREAS, EVOX prays for the following relief against Defendants:
 15                      a.    For maximum statutory damages in the amount of $150,000 with
 16 respect to each copyrighted work infringed, or such other amounts as may be proper
 17 pursuant to 17 U.S.C. § 504(c). Alternatively, EVOX, at its election, is entitled to
 18 damages and/or wrongful profits pursuant to 17 U.S.C. § 504(b) for each separate
 19 infringement.
 20                      b.    For maximum statutory damages in the amount of $25,000 per
 21 violation of 17 U.S.C. § 1202.
 22                      c.    For pre- and post-judgment interest.
 23                      d.    For EVOX’s costs in this action, including reasonable attorney’s
 24 fees, pursuant to 17 U.S.C. § 505 and 17 U.S.C. § 1203(b).
 25                      e.    That the Court award EVOX such other and further relief as is
 26 just and proper.
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                                          COMPLAINT FOR DAMAGES
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   1 DATED: October 1. 2021
                                           Keith J. Wesley
   2                                       Noah S. Helpern
                                           David D. Kim
   3
   4
                                      By
   5
                                                 David D. Kim
   6                                  Attorneys for EVOX Productions, LLC
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                                  COMPLAINT FOR DAMAGES
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    1                                         JURY DEMAND
    2               EVOX demands a trial by jury on all issues so triable.
    3
    4 DATED: October 1. 2021
                                                      Keith J. Wesley
    5                                                 Noah S. Helpern
                                                      David D. Kim
    6
    7
                                                 By
    8
                                                            David D. Kim
    9                                            Attorneys for EVOX Productions, LLC
   10
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                                            COMPLAINT FOR DAMAGES
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                        EXHIBIT A
                                Exhibit A, Page 11
      Case 2:21-cv-07875-SSS-AGR Document 1 Filed 10/01/21 Page 12 of 487 Page ID #:12
VA 1-930-081
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2017/12/2015-Ford-Explorer-problems-complaints-lemon.png                9863_st0640_089.jpg
VA 1-973-062
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Colorado-problems-complaints-lemon-400x282.png   10553_st0640_089.jpg
VA 1-973-129
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Porsche-Cayenne-problems-complaints-lemon-                 10459_cc0640_032_2Y.jpg
e1582566395551.png
VA 1-973-893
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Cadillac-Escalade-problems-complaints-lemon.png            10567_st0640_046.jpg
VA 1-974-853
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Chevrolet-Chevy-Surburban-problems-complaints-lemon-       10605_st0640_089.jpg
400x282.png
VA 1-980-158
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2019-Jeep-Wrangler-problems-complaints-lemon.png                10734_st0640_089.jpg
VA 1-981-051
Lemberg Filename                                                                                                      Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/11/2017-Dodge-Journey-problems-complaints-lemon.png                10674_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2017/12/2015-Ford-Explorer-problems-complaints-lemon.png




                                         9863_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Colorado-problems-complaints-lemon-
                                             400x282.png




                                         10553_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Porsche-Cayenne-problems-complaints-lemon-
                                        e1582566395551.png




                                      10459_cc0640_032_2Y.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Cadillac-Escalade-problems-complaints-lemon.png




                                          10567_st0640_046.jpg




                                           Exhibit A, Page 23
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https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Chevrolet-Chevy-Surburban-problems-complaints-
                                           lemon-400x282.png




                                          10605_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2019-Jeep-Wrangler-problems-complaints-lemon.png




                                        10734_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/11/2017-Dodge-Journey-problems-complaints-lemon.png




                                        10674_st0640_046.jpg




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      Case 2:21-cv-07875-SSS-AGR Document 1 Filed 10/01/21 Page 34 of 487 Page ID #:34
VA 1-988-331
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-BMW-X1-problems-complaints-lemon.png              10908_st0640_159.jpg
VA 1-990-161
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-GMC-Yukon-problems-complaints-lemon-400x282.png   10903_st0640_089.jpg
VA 1-997-959
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Hyundai-Elantra-problems-complaints-lemon.png     11069_st0640_046.jpg
VA 1-999-914
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2018/12/2017-Toyota-RAV4-problems-complaints-lemon.png         11135_st0640_046.jpg
VA 2-010-484
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lexus-RX350-problems-complaints-lemon.png         11159_cc0640_032_223.jpg
VA 2-011-361
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Chrysler-Pacifica-problems-complaints-lemon.png   11178_st0640_046.jpg
VA 2-011-869
Lemberg Filename                                                                                             Evox Image
https://www.lemberglaw.com/wp-content/uploads/2018/11/2017-Subaru-Outback-problems-complaints-lemon-1.png    11142_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-BMW-X1-problems-complaints-lemon.png




                                     10908_st0640_159.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-GMC-Yukon-problems-complaints-lemon-400x282.png




                                           10903_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Hyundai-Elantra-problems-complaints-lemon.png




                                         11069_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2018/12/2017-Toyota-RAV4-problems-complaints-lemon.png




                                        11135_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lexus-RX350-problems-complaints-lemon.png




                                     11159_cc0640_032_223.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Chrysler-Pacifica-problems-complaints-lemon.png




                                          11178_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2018/11/2017-Subaru-Outback-problems-complaints-lemon-1.png




                                          11142_st0640_089.jpg




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VA 2-012-796
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/04/2017-Cadillac-XT5-problems-complaints-lemon-400x239.png      11213_cc0640_032_GAN.jp
https://www.lemberglaw.com/wp-content/uploads/2019/04/2017-Cadillac-XT5-problems-complaints-lemon.png              g
                                                                                                                   11213_sp0640_032.jpg
VA 2-015-761
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2017-Ford-Expedition-problems-complaints-lemon-400x282.png   11325_st0640_159.jpg
VA 2-020-423
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Infiniti-Q60-problems-complaints-lemon.png              11400_cc0640_032_RAY.jpg
VA 2-022-579
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Volvo-XC90-problems-complaints-lemon-400x256.png        11421_st0640_046.jpg
VA 2-022-740
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2017-Nissan-Armada-problems-complaints-lemon.png             11441_st0640_089.jpg
VA 2-022-968
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2018/10/2017-Dodge-Ram-1500-problems-complaints-lemon.png            11510_st0640_089.jpg
VA 2-022-974
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Dodge-Ram-2500-problems-complaints-lemon.png            11511_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/04/2017-Cadillac-XT5-problems-complaints-lemon-400x239.png




                                         11213_cc0640_032_GAN.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/04/2017-Cadillac-XT5-problems-complaints-lemon.png




                                        11213_sp0640_032.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2017-Ford-Expedition-problems-complaints-lemon-
                                            400x282.png




                                        11325_st0640_159.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Infiniti-Q60-problems-complaints-lemon.png




                                     11400_cc0640_032_RAY.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Volvo-XC90-problems-complaints-lemon-400x256.png




                                           11421_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2017-Nissan-Armada-problems-complaints-lemon.png




                                        11441_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2018/10/2017-Dodge-Ram-1500-problems-complaints-lemon.png




                                         11510_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Dodge-Ram-2500-problems-complaints-lemon.png




                                         11511_st0640_089.jpg




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VA 2-022-998
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/11/2017-Kia-Forte-problems-complaints-lemon-400x249.png        11404_st0640_046.jpg
VA 2-023-000
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Camaro-problems-complaints-lemon.png         11393_st0640_089.jpg
VA 2-023-137
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2017-Ford-F-250-problems-complaints-lemon-400x282.png       11536_st0640_089.jpg
VA 2-024-390
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Murano-problems-complaints-lemon.png            11675_st0640_046.jpg
VA 2-024-461
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Toyota-Corolla-problems-complaints-lemon-400x233.png   11595_st0640_046.jpg
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Toyota-Corolla-problems-complaints-lemon.png           11595_cc0640_032_3R3.jpg
VA 2-024-465
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Armada-problems-complaints-lemon.png            11600_cc0640_032_BW5.jp
VA 2-024-494                                                                                                      g
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Prius-problems-complaints-lemon.png             11516_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/11/2017-Kia-Forte-problems-complaints-lemon-400x249.png




                                          11404_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Camaro-problems-complaints-lemon.png




                                          11393_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/08/2017-Ford-F-250-problems-complaints-lemon-400x282.png




                                           11536_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Murano-problems-complaints-lemon.png




                                        11675_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Toyota-Corolla-problems-complaints-lemon-
                                           400x233.png




                                       11595_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Toyota-Corolla-problems-complaints-lemon.png




                                      11595_cc0640_032_3R3.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Armada-problems-complaints-lemon.png




                                      11600_cc0640_032_BW5.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Prius-problems-complaints-lemon.png




                                        11516_st0640_089.jpg




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VA 2-024-526
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Nissan-Titan-problems-complaints-lemon.png          11485_st0640_046.jpg
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Nissan-Titan-XD-problems-complaints-lemon.png       11485_cc0640_032_CAJ.jpg
VA 2-024-795
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lincoln-Continental-problems-complaints-lemon.png   11574_st0640_046.jpg
VA 2-024-815
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Jeep-Grand-Cherokee-problems-complaints-lemon.png   11483_st0640_046.jpg
VA 2-024-966
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2017-Ford-Edge-problems-complaints-lemon-400x276.png     11697_cc0640_032_UX.jpg
VA 2-026-099
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Jeep-Renegade-problems-complaints-lemon.png         11720_st0640_046.jpg
VA 2-054-769
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Toyota-CHR-problems-complaints-lemon-400x288.png    12007_st0640_046.jpg
VA 2-054-822
Lemberg Filename                                                                                               Evox Image
https://www.lemberglaw.com/wp-content/uploads/2018/01/2017-honda-crv-problems-complaints-lemon.png             11795_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Nissan-Titan-problems-complaints-lemon.png




                                        11485_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Nissan-Titan-XD-problems-complaints-lemon.png




                                       11485_cc0640_032_CAJ.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lincoln-Continental-problems-complaints-lemon.png




                                           11574_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Jeep-Grand-Cherokee-problems-complaints-lemon.png




                                           11483_st0640_046.jpg




                                           Exhibit A, Page 114
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https://www.lemberglaw.com/wp-content/uploads/2019/08/2017-Ford-Edge-problems-complaints-lemon-400x276.png




                                         11697_cc0640_032_UX.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2017-Jeep-Renegade-problems-complaints-lemon.png




                                        11720_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Toyota-CHR-problems-complaints-lemon-400x288.png




                                           12007_st0640_046.jpg




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 https://www.lemberglaw.com/wp-content/uploads/2018/01/2017-honda-crv-problems-complaints-lemon.png




                                       11795_st0640_089.jpg




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VA 2-054-843
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Honda-Pilot-problems-complaints-lemon.png                      11747_st0640_046.jpg
VA 2-054-846
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Trax-problems-complaints-lemon.png                   11743_st0640_089.jpg
VA 2-055-048
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-4Runner-problems-complaints-lemon.png                   11927_st0640_159.jpg
VA 2-055-054
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Subaru-Crosstrek-problems-complaints-lemon-400x300.png         11935_st0640_046.jpg
VA 2-055-072
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Chevy-Chevrolet-Silverado-3500-problems-complaints-lemon-      12010_st0640_089.jpg
e1581007595628.png
VA 2-055-252
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Audi-Q5-problems-complaints-lemon.png                          11996_st0640_089.jpg
VA 2-055-341
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/11/2018-Chevrolet-Chevy-Bolt-EV-problems-complaints-issues-lemon.png   11851_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Honda-Pilot-problems-complaints-lemon.png




                                       11747_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Trax-problems-complaints-lemon.png




                                         11743_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-4Runner-problems-complaints-lemon.png




                                         11927_st0640_159.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Subaru-Crosstrek-problems-complaints-lemon-
                                            400x300.png




                                        11935_st0640_046.jpg




                                        Exhibit A, Page 139
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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Chevy-Chevrolet-Silverado-3500-problems-complaints-
                                         lemon-e1581007595628.png




                                            12010_st0640_089.jpg




                                            Exhibit A, Page 142
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 https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Audi-Q5-problems-complaints-lemon.png




                                      11996_st0640_089.jpg




                                      Exhibit A, Page 145
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https://www.lemberglaw.com/wp-content/uploads/2020/11/2018-Chevrolet-Chevy-Bolt-EV-problems-complaints-issues-
                                                lemon.png




                                            11851_st0640_089.jpg




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VA 2-055-365
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Subaru-Crosstrek-problems-complaints-lemon-400x282.png    11969_st0640_089.jpg
VA 2-055-375
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Subaru-Legacy-problems-complaints-lemon.png               11895_st0640_089.jpg
VA 2-055-398
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-GMC-Sierra-3500-problems-complaints-lemon-400x234.png     11914_st0640_089.jpg
VA 2-055-411
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-S5-problems-complaints-lemon-400x276.png             11988_sp0640_032.jpg
VA 2-055-418
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Alfa-Romeo-Giulia-problems-complaints-lemon-400x282.png   11883_st0640_089.jpg
VA 2-055-427
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-GMC-Sierra-2500-problems-complaints-lemon-400x245.png     11901_st0640_089.jpg
VA 2-055-438
Lemberg Filename                                                                                                     Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Levante-problems-complaints-lemon.png            11836_cc0640_032_268.jpg
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Levante-problems-complaints-lemon-400x239.png    11836_sp0640_032.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Subaru-Crosstrek-problems-complaints-lemon-
                                            400x282.png




                                        11969_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Subaru-Legacy-problems-complaints-lemon.png




                                        11895_st0640_089.jpg




                                        Exhibit A, Page 155
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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-GMC-Sierra-3500-problems-complaints-lemon-
                                            400x234.png




                                        11914_st0640_089.jpg




                                        Exhibit A, Page 158
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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-S5-problems-complaints-lemon-400x276.png




                                         11988_sp0640_032.jpg




                                         Exhibit A, Page 161
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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Alfa-Romeo-Giulia-problems-complaints-lemon-
                                             400x282.png




                                         11883_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-GMC-Sierra-2500-problems-complaints-lemon-
                                            400x245.png




                                        11901_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Levante-problems-complaints-lemon.png




                                        11836_cc0640_032_268.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Levante-problems-complaints-lemon-
                                            400x239.png




                                        11836_sp0640_032.jpg




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VA 2-055-440
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Subaru-WRX-problems-complaints-lemon-400x187.png             11834_sp0640_024.jpg
VA 2-055-460
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Chevrolet-Chevy-Bolt-problems-complaints-lemon-400x282.png   11816_st0640_089.jpg
VA 2-063-067
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2019-Alfa-Romeo-Stelvio-problems-complaints-issues-lemon.png      12164_st0640_046.jpg
VA 2-063-629
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/11/2018-Toyota-Avalon-problems-complaints-issues-lemon-400x212.png   12139_st0640_089.jpg
VA 2-063-699
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-GMC-Terrain-problems-complaints-lemon.png                    12178_st0640_046.jpg
VA 2-064-727
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Volvo-XC60-problems-complaints-lemon.png                     12191_st0640_046.jpg
VA 2-065-003
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Genesis-G80-problems-complaints-lemon-400x239.png            12037_cc0640_032_N5M.jp
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Genesis-G80-problems-complaints-lemon.png                    g
                                                                                                                        12037_cc0640_032_V6S.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Subaru-WRX-problems-complaints-lemon-400x187.png




                                           11834_sp0640_024.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/01/2017-Chevrolet-Chevy-Bolt-problems-complaints-lemon-
                                              400x282.png




                                          11816_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2019-Alfa-Romeo-Stelvio-problems-complaints-issues-
                                              lemon.png




                                          12164_st0640_046.jpg




                                         Exhibit A, Page 182
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https://www.lemberglaw.com/wp-content/uploads/2020/11/2018-Toyota-Avalon-problems-complaints-issues-lemon-
                                              400x212.png




                                          12139_st0640_089.jpg




                                          Exhibit A, Page 185
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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-GMC-Terrain-problems-complaints-lemon.png




                                       12178_st0640_046.jpg




                                       Exhibit A, Page 188
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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Volvo-XC60-problems-complaints-lemon.png




                                       12191_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Genesis-G80-problems-complaints-lemon-400x239.png




                                         12037_cc0640_032_N5M.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Genesis-G80-problems-complaints-lemon.png




                                     12037_cc0640_032_V6S.jpg




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VA 2-065-012
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Chrysler-Pacifica-problems-complaints-lemon.png      12019_cc0640_032_PAU.jp
VA 2-065-111                                                                                                    g
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Land-Rover-Discovery-problems-complaints-lemon.png   12080_cc0640_032_1BL.jpg
VA 2-065-123
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Honda-Odyssey-problems-complaints-lemon.png          12090_st0640_046.jpg
VA 2-065-145
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2018/10/2018-Volkswagen-VW-Atlas-problems-complaints-lemon.png    12056_st0640_046.jpg
VA 2-065-150
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-M4-problems-complaints-lemon-400x200.png         12051_st0640_159.jpg
VA 2-065-153
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Honda-Odyssey-problems-complaints-lemon.png          12070_st0640_046.jpg
VA 2-065-155
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-Q3-problems-complaints-lemon-400x230.png        12046_cc0640_032_L5.jpg
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-Q3-problems-complaints-lemon.png                12046_cc0640_032_0D.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Chrysler-Pacifica-problems-complaints-lemon.png




                                        12019_cc0640_032_PAU.jpg




                                          Exhibit A, Page 200
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https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Land-Rover-Discovery-problems-complaints-lemon.png




                                          12080_cc0640_032_1BL.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Honda-Odyssey-problems-complaints-lemon.png




                                         12090_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2018/10/2018-Volkswagen-VW-Atlas-problems-complaints-lemon.png




                                           12056_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-M4-problems-complaints-lemon-400x200.png




                                         12051_st0640_159.jpg




                                         Exhibit A, Page 212
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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Honda-Odyssey-problems-complaints-lemon.png




                                         12070_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-Q3-problems-complaints-lemon-400x230.png




                                        12046_cc0640_032_L5.jpg




                                         Exhibit A, Page 218
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 https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Audi-Q3-problems-complaints-lemon.png




                                     12046_cc0640_032_0D.jpg




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VA 2-066-091
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/01/2018-Chevy-Chevrolet-Traverse-problems-complaints-lemon.png   12193_cc0640_032_G1W.jp
VA 2-066-098                                                                                                        g
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-CX-3-problems-complaints-lemon.png                 12197_cc0640_032_34K.jpg
VA 2-066-401
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2018-Ford-F-150-problems-complaints-lemon-400x282.png         12204_st0640_089.jpg
VA 2-066-403
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/11/2018-Kia-Sportage-problems-complaints-lemon.png               12196_st0640_046.jpg
VA 2-068-350
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Toyota-Corolla-problems-complaints-lemon.png             12246_st0640_046.jpg
VA 2-068-355
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Dodge-Challenger-problems-complaints-lemon.png           12232_st0640_089.jpg
VA 2-068-363
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Chrysler-300-problems-complaints-lemon.png               12223_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/01/2018-Chevy-Chevrolet-Traverse-problems-complaints-
                                              lemon.png




                                      12193_cc0640_032_G1W.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-CX-3-problems-complaints-lemon.png




                                     12197_cc0640_032_34K.jpg




                                       Exhibit A, Page 227
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https://www.lemberglaw.com/wp-content/uploads/2019/08/2018-Ford-F-150-problems-complaints-lemon-400x282.png




                                           12204_st0640_089.jpg




                                           Exhibit A, Page 230
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https://www.lemberglaw.com/wp-content/uploads/2019/11/2018-Kia-Sportage-problems-complaints-lemon.png




                                        12196_st0640_046.jpg




                                        Exhibit A, Page 233
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https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Toyota-Corolla-problems-complaints-lemon.png




                                         12246_st0640_046.jpg




                                         Exhibit A, Page 236
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https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Dodge-Challenger-problems-complaints-lemon.png




                                          12232_st0640_089.jpg




                                          Exhibit A, Page 239
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https://www.lemberglaw.com/wp-content/uploads/2019/12/2018-Chrysler-300-problems-complaints-lemon.png




                                        12223_st0640_089.jpg




                                        Exhibit A, Page 242
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VA 2-069-792
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-M3-problems-complaints-lemon-400x229.png                 12255_cc0640_032_B68.jpg
VA 2-071-828
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-CX-9-problems-complaints-lemon.png                     12291_st0640_046.jpg
VA 2-072-479
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-GMC-Yukon-problems-complaints-issues-lemon-400x257.png       12280_st0640_046.jpg
VA 2-072-489
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-GMC-Acadia-problems-complaints-lemon-400x282.png             12294_st0640_089.jpg
VA 2-075-242
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Pathfinder-problems-complaints-lemon.png              12363_st0640_089.jpg
VA 2-081-812
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Sienna-problems-complaints-lemon.png                  12512_cc0640_032_1D6.jp
VA 2-082-136                                                                                                            g
Lemberg Filename                                                                                                        Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Volkswagen-VW-Beetle-problems-complaints-lemon-400x276.png   12552_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-M3-problems-complaints-lemon-400x229.png




                                       12255_cc0640_032_B68.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-CX-9-problems-complaints-lemon.png




                                       12291_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-GMC-Yukon-problems-complaints-issues-lemon-
                                             400x257.png




                                        12280_st0640_046.jpg




                                        Exhibit A, Page 252
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https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-GMC-Acadia-problems-complaints-lemon-400x282.png




                                           12294_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Pathfinder-problems-complaints-lemon.png




                                          12363_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Sienna-problems-complaints-lemon.png




                                      12512_cc0640_032_1D6.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Volkswagen-VW-Beetle-problems-complaints-lemon-
                                               400x276.png




                                          12552_st0640_046.jpg




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VA 2-082-138
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Kia-Sedona-problems-complaints-lemon.png             12548_cc0640_032_4SS.jpg
VA 2-082-276
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Sequoia-problems-complaints-lemon.png         12529_st0640_089.jpg
VA 2-082-310
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Nissan-Rogue-problems-complaints-lemon.png           12496_st0640_089.jpg
VA 2-082-311
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lexus-NX300H-problems-complaints-lemon-400x278.png   12497_st0640_046.jpg
VA 2-082-316
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2018-Ford-Focus-problems-complaints-lemon-400x282.png     12502_st0640_089.jpg
VA 2-105-107
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Sentra-problems-complaints-lemon.png          12426_st0640_046.jpg
VA 2-105-114
Lemberg Filename                                                                                                Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Versa-problems-complaints-lemon.png           12402_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Kia-Sedona-problems-complaints-lemon.png




                                     12548_cc0640_032_4SS.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Toyota-Sequoia-problems-complaints-lemon.png




                                         12529_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Nissan-Rogue-problems-complaints-lemon.png




                                        12496_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Lexus-NX300H-problems-complaints-lemon-
                                           400x278.png




                                       12497_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/08/2018-Ford-Focus-problems-complaints-lemon-400x282.png




                                           12502_st0640_089.jpg




                                           Exhibit A, Page 280
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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Sentra-problems-complaints-lemon.png




                                        12426_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Nissan-Versa-problems-complaints-lemon.png




                                        12402_st0640_089.jpg




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VA 2-105-138
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Nissan-Armada-problems-complaints-lemon.png                   12427_st0640_089.jpg
VA 2-105-908
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-X5-problems-complaints-lemon.png                          12463_st0640_116.jpg
VA 2-105-911
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Buick-Enclave-problems-complaints-lemon.png                   12477_st0640_089.jpg
VA 2-106-082
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Kia-Sorento-problems-complaints-lemon.png                     12749_st0640_089.jpg
VA 2-106-118
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Hyundai-Tucson-problems-complaints-lemon-                     12661_st0640_046.jpg
e1571669599210.png
VA 2-106-132
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Hyundai-Kona-problems-complaints-lemon.png                    12745_st0640_089.jpg
VA 2-106-149
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Quattroporte-problems-complaints-lemon-400x181.png   12635_sp0640_031.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Nissan-Armada-problems-complaints-lemon.png




                                        12427_st0640_089.jpg




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 https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-X5-problems-complaints-lemon.png




                                      12463_st0640_116.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Buick-Enclave-problems-complaints-lemon.png




                                        12477_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Kia-Sorento-problems-complaints-lemon.png




                                       12749_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Hyundai-Tucson-problems-complaints-lemon-
                                        e1571669599210.png




                                       12661_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Hyundai-Kona-problems-complaints-lemon.png




                                        12745_st0640_089.jpg




                                        Exhibit A, Page 305
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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Maserati-Quattroporte-problems-complaints-lemon-
                                               400x181.png




                                           12635_sp0640_031.jpg




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VA 2-106-355
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Honda-Accord-problems-complaints-lemon-400x200.png     12415_st0640_046.jpg
VA 2-106-791
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2019-Volkswagen-Golf-VW-GTI-problems-complaints-lemon-      12601_cc0640_032_K8K8.jp
400x209.png                                                                                                       g
VA 2-106-798
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-X3-problems-complaints-lemon.png                   12597_sp0640_032.jpg
VA 2-106-800
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mitsubishi-Outlander-problems-complaints-lemon.png     12593_cc0640_032_C06.jpg
VA 2-106-802
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mitsubishi-Outlander-PHEV-problems-complaints-lemon-   12594_cc0640_032_C06.jpg
400x236.png
VA 2-107-198
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-MX-5-problems-complaints-lemon.png               12690_st0640_089.jpg
VA 2-113-229
Lemberg Filename                                                                                                  Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Mazda-CX-5-problems-complaints-lemon.png               12583_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Honda-Accord-problems-complaints-lemon-
                                           400x200.png




                                      12415_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2019-Volkswagen-Golf-VW-GTI-problems-complaints-lemon-
                                                400x209.png




                                         12601_cc0640_032_K8K8.jpg




                                           Exhibit A, Page 315
Case 2:21-cv-07875-SSS-AGR Document 1 Filed 10/01/21 Page 316 of 487 Page ID #:316




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 https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-BMW-X3-problems-complaints-lemon.png




                                      12597_sp0640_032.jpg




                                      Exhibit A, Page 318
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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mitsubishi-Outlander-problems-complaints-lemon.png




                                         12593_cc0640_032_C06.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mitsubishi-Outlander-PHEV-problems-complaints-
                                           lemon-400x236.png




                                       12594_cc0640_032_C06.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Mazda-MX-5-problems-complaints-lemon.png




                                       12690_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Mazda-CX-5-problems-complaints-lemon.png




                                       12583_st0640_089.jpg




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VA 2-117-253
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/11/2020-VW-Volkswagen-Passat-problems-complaints-issues-lemon.png   12841_cc0640_032_G2G2.j
VA 2-117-335                                                                                                           pg
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Subaru-Forester-problems-complaints-lemon.png               12846_st0640_046.jpg
VA 2-117-524
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Hyundai-Veloster-problems-complaints-lemon.png              12865_st0640_089.jpg
VA 2-117-542
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-INFINITI-QX60-problems-complaints-issues-lemon.png          12886_st0640_089.jpg
VA 2-118-310
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Subaru-Crosstrek-problems-complaints-lemon.png              12828_st0640_089.jpg
VA 2-118-337
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Toyota-Tundra-problems-complaints-lemon.png                 12827_sp0640_032.jpg
VA 2-118-621
Lemberg Filename                                                                                                       Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Subaru-Impreza-problems-complaints-lemon.png                12877_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/11/2020-VW-Volkswagen-Passat-problems-complaints-issues-
                                                lemon.png




                                        12841_cc0640_032_G2G2.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Subaru-Forester-problems-complaints-lemon.png




                                         12846_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Hyundai-Veloster-problems-complaints-lemon.png




                                          12865_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-INFINITI-QX60-problems-complaints-issues-lemon.png




                                            12886_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2018-Subaru-Crosstrek-problems-complaints-lemon.png




                                          12828_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Toyota-Tundra-problems-complaints-lemon.png




                                        12827_sp0640_032.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/02/2018-Subaru-Impreza-problems-complaints-lemon.png




                                         12877_st0640_089.jpg




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VA 2-118-627
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Chevy-Chevrolet-Equinox-problems-complaints-lemon.png    12930_st0640_089.jpg
VA 2-121-581
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Chevrolet-Chevy-Colorado-problems-complaints-lemon.png   12970_st0640_089.jpg
VA 2-121-604
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/12/2019-Lexus-ES-300-problems-complaints-issues-lemon.png        13039_cc0640_032_083.jpg
VA 2-121-631
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2019-Chevy-Chevrolet-Traverse-problems-complaints-lemon.png   12960_st0640_159.jpg
VA 2-121-643
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/11/2019-Toyota-Sienna-problems-complaints-issues-lemon.png       13010_st0640_089.jpg
VA 2-121-656
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Toyota-Tundra-problems-complaints-lemon.png              13016_st0640_089.jpg
VA 2-121-657
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Chevrolet-Chevy-Equinox-problems-complaints-lemon.png    13020_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/08/2019-Chevy-Chevrolet-Equinox-problems-complaints-
                                              lemon.png




                                         12930_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Chevrolet-Chevy-Colorado-problems-complaints-
                                              lemon.png




                                         12970_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/12/2019-Lexus-ES-300-problems-complaints-issues-lemon.png




                                         13039_cc0640_032_083.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/12/2019-Chevy-Chevrolet-Traverse-problems-complaints-
                                              lemon.png




                                         12960_st0640_159.jpg




                                         Exhibit A, Page 365
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https://www.lemberglaw.com/wp-content/uploads/2020/11/2019-Toyota-Sienna-problems-complaints-issues-lemon.png




                                            13010_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Toyota-Tundra-problems-complaints-lemon.png




                                        13016_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Chevrolet-Chevy-Equinox-problems-complaints-
                                              lemon.png




                                         13020_st0640_089.jpg




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VA 2-121-666
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2019-Chevy-Chevrolet-Bolt-EV-problems-complaints-lemon.png          13022_st0640_116.jpg
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Chevrolet-Chevy-Bolt-EV-problems-complaints-issues-lemon.png   13022_cc0640_032_GAZ.jp
                                                                                                                          g
VA 2-121-672
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mazda-CX-9-problems-complaints-lemon.png                       13019_st0640_089.jpg
VA 2-121-682
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Toyota-Highlander-problems-complaints-lemon.png                13037_st0640_046.jpg
VA 2-121-738
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Toyota-Tacoma-problems-complaints-lemon.png                    13043_st0640_089.jpg
VA 2-121-768
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/09/2020-Kia-Optima-problems-complaints-lemon.png                       12991_st0640_089.jpg
VA 2-125-143
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-INFINITI-Q50-problems-complaints-lemon.png                     13057_cc0640_032_K23.jpg
VA 2-125-628
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Nissan-Versa-problems-complaints-lemon-400x282.png             13142_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/12/2019-Chevy-Chevrolet-Bolt-EV-problems-complaints-
                                             lemon.png




                                         13022_st0640_116.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Chevrolet-Chevy-Bolt-EV-problems-complaints-issues-
                                                lemon.png




                                          13022_cc0640_032_GAZ.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mazda-CX-9-problems-complaints-lemon.png




                                       13019_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/10/2019-Toyota-Highlander-problems-complaints-lemon.png




                                          13037_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/09/2018-Toyota-Tacoma-problems-complaints-lemon.png




                                         13043_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/09/2020-Kia-Optima-problems-complaints-lemon.png




                                       12991_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-INFINITI-Q50-problems-complaints-lemon.png




                                      13057_cc0640_032_K23.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Nissan-Versa-problems-complaints-lemon-400x282.png




                                            13142_st0640_089.jpg




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VA 2-126-611
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/11/2019-Hyundai-Sonata-problems-complaints-lemon.png                  13068_st0640_046.jpg
VA 2-126-951
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mercedes-Benz-C300-problems-complaints-lemon.png              13159_cc0640_032_149.jpg
VA 2-129-295
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Ford-Edge-problems-complaints-lemon.png                       13180_cc0640_032_RR.jpg
VA 2-129-298
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Hyundai-Tucson-problems-complaints-issues-lemon-400x239.png   13177_st0640_089.jpg
VA 2-132-293
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/05/2019-VW-Volkswagen-Jetta-problems-complaints-lemon-1.png           13242_st0640_089.jpg
VA 2-132-338
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/09/2019-Toyota-Tacoma-problems-complaints-lemon-e1575517104876.png    13237_st0640_046.jpg
VA 2-134-671
Lemberg Filename                                                                                                         Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Kia-Rio-problems-complaints-lemon.png                         13290_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/11/2019-Hyundai-Sonata-problems-complaints-lemon.png




                                         13068_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mercedes-Benz-C300-problems-complaints-lemon.png




                                         13159_cc0640_032_149.jpg




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 https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Ford-Edge-problems-complaints-lemon.png




                                      13180_cc0640_032_RR.jpg




                                       Exhibit A, Page 408
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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Hyundai-Tucson-problems-complaints-issues-lemon-
                                               400x239.png




                                           13177_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/05/2019-VW-Volkswagen-Jetta-problems-complaints-lemon-
                                                 1.png




                                          13242_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/09/2019-Toyota-Tacoma-problems-complaints-lemon-
                                       e1575517104876.png




                                       13237_st0640_046.jpg




                                       Exhibit A, Page 417
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  https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Kia-Rio-problems-complaints-lemon.png




                                       13290_st0640_089.jpg




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VA 2-135-559
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Cruze-problems-complaints-lemon-400x200.png   13354_st0640_046.jpg
VA 2-135-620
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Cadillac-CT6-problems-complaints-lemon.png              13365_cc0640_032_GBA.jp
VA 2-139-585                                                                                                       g
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Honda-Passport-problems-complaints-lemon-400x282.png    13440_st0640_089.jpg
VA 2-139-607
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Nissan-Murano-problems-complaints-lemon.png             13435_cc0640_032_K23.jpg
VA 2-141-883
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Ford-Ranger-problems-complaints-lemon.png               13459_st0640_089.jpg
VA 2-144-182
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/07/2020-Kia-Soul-problems-complaints-lemon.png                  13512_st0640_089.jpg
VA 2-144-524
Lemberg Filename                                                                                                   Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mazda-Mazda3-problems-complaints-lemon.png              13520_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/07/2018-Chevrolet-Cruze-problems-complaints-lemon-
                                            400x200.png




                                        13354_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Cadillac-CT6-problems-complaints-lemon.png




                                     13365_cc0640_032_GBA.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2019-Honda-Passport-problems-complaints-lemon-
                                            400x282.png




                                       13440_st0640_089.jpg




                                       Exhibit A, Page 430
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https://www.lemberglaw.com/wp-content/uploads/2020/07/2019-Nissan-Murano-problems-complaints-lemon.png




                                      13435_cc0640_032_K23.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Ford-Ranger-problems-complaints-lemon.png




                                       13459_st0640_089.jpg




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 https://www.lemberglaw.com/wp-content/uploads/2020/07/2020-Kia-Soul-problems-complaints-lemon.png




                                       13512_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/09/2019-Mazda-Mazda3-problems-complaints-lemon.png




                                        13520_st0640_089.jpg




                                        Exhibit A, Page 442
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VA 2-149-881
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Kia-Sportage-problems-complaints-lemon.png                     13606_st0640_089.jpg
VA 2-150-358
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Chevrolet-Chevy-Blazer-problems-complaints-lemon-400x212.png   13615_st0640_089.jpg

VA 2-160-502
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2019/12/2020-Jeep-Gladiator-problems-complaints-lemon-400x282.png           13682_st0640_089.jpg
VA 2-164-038
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Honda-Passport-problems-complaints-issues-lemon.png            13793_st0640_089.jpg
VA 2-164-154
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Cadillac-XT6-problems-complaints-issues-lemon.png              13749_cc0640_032_GAN.jp
VA 2-169-848                                                                                                              g
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Volvo-XC90-problems-complaints-issues-lemon.png                13754_cc0640_032_723.jpg
VA 2-172-059
Lemberg Filename                                                                                                          Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Honda-Civic-problems-complaints-lemon.png                      13948_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Kia-Sportage-problems-complaints-lemon.png




                                        13606_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/03/2019-Chevrolet-Chevy-Blazer-problems-complaints-lemon-
                                               400x212.png




                                           13615_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2019/12/2020-Jeep-Gladiator-problems-complaints-lemon-
                                           400x282.png




                                       13682_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Honda-Passport-problems-complaints-issues-lemon.png




                                            13793_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Cadillac-XT6-problems-complaints-issues-lemon.png




                                        13749_cc0640_032_GAN.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Volvo-XC90-problems-complaints-issues-lemon.png




                                        13754_cc0640_032_723.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Honda-Civic-problems-complaints-lemon.png




                                       13948_st0640_089.jpg




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VA 2-172-284
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Mini-Cooper-problems-complaints-issues-lemon.png         13941_cc0640_032_A62.jpg
VA 2-176-252
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-INFINITI-Q50-problems-complaints-issues-lemon.png        13992_sp0640_032.jpg
VA 2-178-055
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-BMW-X5-problems-complaints-lemon.png                     13999_sp0640_032.jpg
VA 2-178-067
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Subaru-Crosstrek-problems-complaints-lemon-400x282.png   13994_st0640_089.jpg
VA 2-178-822
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/09/2020-Toyota-RAV4-problems-complaints-lemon.png                14077_st0640_089.jpg
VA 2-190-835
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Mazda-CX-5-problems-complaints-issues-lemon.png          14205_st0640_089.jpg
VA 2-211-899
Lemberg Filename                                                                                                    Evox Image
https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Alfa-Romeo-Stelvio-problems-complaints-lemon.png         14443_st0640_046.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Mini-Cooper-problems-complaints-issues-lemon.png




                                        13941_cc0640_032_A62.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-INFINITI-Q50-problems-complaints-issues-lemon.png




                                           13992_sp0640_032.jpg




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 https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-BMW-X5-problems-complaints-lemon.png




                                      13999_sp0640_032.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/08/2020-Subaru-Crosstrek-problems-complaints-lemon-
                                            400x282.png




                                        13994_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/09/2020-Toyota-RAV4-problems-complaints-lemon.png




                                        14077_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/10/2020-Mazda-CX-5-problems-complaints-issues-lemon.png




                                          14205_st0640_089.jpg




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https://www.lemberglaw.com/wp-content/uploads/2020/01/2018-Alfa-Romeo-Stelvio-problems-complaints-lemon.png




                                           14443_st0640_046.jpg




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